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                             UNITED STATES DISTRICT COURT
                              NORTHERN DISTRICT OF OHIO
                                   EASTERN DIVISION


    IN RE: NATIONAL PRESCRIPTION
    OPIATE LITIGATION
                                                       MDL No. 2804
    This document relates to:
                                                       Case No. 17-MD-2804
    City of Henderson, Kentucky et al. v. Purdue
                                                       Judge Dan Aaron Polster
    Pharma L.P., et al.,

    3:19-cv-67 (W.D.Ky.)


                                NOTICE of SUBMISSION of
                            MOTION to REMAND to STATE COURT


         By order of the Joint Panel on Multidistrict Litigation, this case was transferred to the

U.S. District Court for the Northern District of Ohio for further proceedings.1 At the time of the

transfer, Plaintiffs’ Motion to Remand for lack of subject matter jurisdiction was pending before

the U.S. District Court for the Eastern District of Kentucky (“E.D.Ky. Court”). The motion was

fully briefed and submitted for resolution on November 22, 2019.2 However, the E.D.Ky. Court

declined to address the merits of the motion—i.e. whether subject matter jurisdiction existed—

and instead deferred any such resolution to this Court.

         WHEREFORE, Plaintiffs respectfully request the Court take their motion under

consideration and grant their request to remand for lack of subject matter jurisdiction—thereby

preventing any further delay and prejudice to Plaintiffs’ prosecution of their state law claims.


                                           *********



1
     See Dkt. 3152.
2
     See Exhibit A: Remand Briefing (pdf portfolio).
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    Date: February 10, 2020                 Respectfully Submitted,

                                            s/ Michael D. Grabhorn

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